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                                                        Exhibit C
                   Case 2:25-cv-00848-TL U.S. DEPARTMENT
                                              Document      1-8 Filed 05/07/25
                                                         OF TRANSPORTATION
                                                                                                 Page 2 of 2
                                                   FEDERAL HIGHWAY ADMINISTRATION
                                               FISCAL MANAGEMENT INFORMATION SYSTEM

                         NATIONAL ELECTRIC VEHICLE INFRASTRUCTURE (NEVI) FORMULA PROGRAM
                                                 STATUS OF FUNDS
                                               AS OF FEBRUARY 6, 2025

        STATE               TOTAL                   TOTAL              UNOBLIGATED              UNPAID                 TOTAL
                          AVAILABLE              OBLIGATIONS             BALANCE              OBLIGATIONS           EXPENDITURES
ALABAMA                        62,415,851.00             299,520.00         62,116,331.00             216,127.45             83,392.55
ALASKA                         41,250,989.00           1,122,662.82         40,128,326.18             595,261.31            527,401.51
ARIZONA                        60,193,112.00          12,090,426.00         48,102,686.00          10,875,499.40          1,214,926.60
ARKANSAS                       42,594,130.00              80,000.00         42,514,130.00              55,595.84             24,404.16
CALIFORNIA                    301,952,392.00           2,111,375.00        299,841,017.00           1,784,493.65            326,881.35
COLORADO                       44,494,590.00           8,368,277.00         36,126,313.00           8,368,277.00
CONNECTICUT                    41,320,654.00           1,440,000.00         39,880,654.00           1,155,326.14             284,673.86
DELAWARE                       13,916,534.00          10,150,125.00          3,766,409.00           9,987,185.63             162,939.37
DISTRICT OF COLUMBIA           13,126,783.00           3,552,666.00          9,574,117.00           3,538,562.25              14,103.75
FLORIDA                       155,871,815.00           9,400,000.00        146,471,815.00           6,010,504.30           3,389,495.70
GEORGIA                       106,225,941.00          12,018,243.56         94,207,697.44           8,976,716.14           3,041,527.42
HAWAII                         13,914,498.00          11,846,015.52          2,068,482.48           8,099,164.82           3,746,850.70
IDAHO                          23,530,684.00             800,004.00         22,730,680.00             133,667.38             666,336.62
ILLINOIS                      116,965,521.00          25,479,521.29         91,485,999.71          25,479,521.29
INDIANA                        78,390,006.00           3,831,649.20         74,558,356.80           3,209,902.06             621,747.14
IOWA                           40,431,778.00           2,700,860.41         37,730,917.59           1,861,305.22             839,555.19
KANSAS                         31,089,134.00             644,446.00         30,444,688.00             644,446.00
KENTUCKY                       54,661,824.00          36,870,951.10         17,790,872.90          34,960,616.41           1,910,334.69
LOUISIANA                      57,740,621.00                                57,740,621.00
MAINE                          15,186,348.00           15,186,348.00                                14,583,660.87            602,687.13
MARYLAND                       49,438,402.00           14,668,457.72         34,769,944.28          14,639,961.23             28,496.49
MASSACHUSETTS                  49,965,632.00           49,965,632.00                                49,965,632.00
MICHIGAN                       86,618,888.00           57,961,353.92          28,657,534.08         56,145,585.08          1,815,768.84
MINNESOTA                      53,645,989.00           10,880,891.36          42,765,097.64         10,880,891.36
MISSISSIPPI                    39,788,949.00            1,449,698.00          38,339,251.00            769,572.00            680,126.00
MISSOURI                       77,882,742.00                                  77,882,742.00
MONTANA                        33,754,525.00             698,760.00           33,055,765.00           296,002.60             402,757.40
NEBRASKA                       23,779,161.00             592,763.65           23,186,397.35           310,513.53             282,250.12
NEVADA                         29,873,416.00                                  29,873,416.00
NEW HAMPSHIRE                  13,592,785.00            4,128,058.00           9,464,727.00          3,622,957.35            505,100.65
NEW JERSEY                     82,142,066.00            9,038,495.85          73,103,570.15          8,769,316.73            269,179.12
NEW MEXICO                     30,211,385.00           11,693,974.72          18,517,410.28         11,693,974.72
NEW YORK                      138,092,658.00           17,733,999.00         120,358,659.00         17,669,191.69             64,807.31
NORTH CAROLINA                 85,802,360.00            8,285,408.00          77,516,952.00          7,336,312.00            949,096.00
NORTH DAKOTA                   20,424,680.00            1,864,346.46          18,560,333.54          1,082,418.51            781,927.95
OHIO                          110,274,939.00            9,810,736.75         100,464,202.25          2,316,213.23          7,494,523.52
OKLAHOMA                       52,175,910.00            3,478,999.00          48,696,911.00          2,293,731.96          1,185,267.04
OREGON                         41,120,395.00           29,047,405.58          12,072,989.42         26,094,376.91          2,953,028.67
PENNSYLVANIA                  134,982,112.00           76,950,000.00          58,032,112.00         73,820,345.44          3,129,654.56
RHODE ISLAND                   17,992,035.00            1,650,183.76          16,341,851.24             48,797.83          1,601,385.93
SOUTH CAROLINA                 55,089,235.00            1,760,000.00          53,329,235.00          1,149,536.97            610,463.03
SOUTH DAKOTA                   23,200,772.00              773,214.48          22,427,557.52            300,000.00            473,214.48
TENNESSEE                      69,519,878.00              638,360.00          68,881,518.00            158,398.20            479,961.80
TEXAS                         320,919,923.00           22,985,071.33         297,934,851.67         22,985,071.33
UTAH                           28,567,107.00           13,104,152.00          15,462,955.00         12,765,047.70            339,104.30
VERMONT                        16,696,866.00              823,342.29          15,873,523.71            268,384.71            554,957.58
VIRGINIA                       83,718,326.00              792,444.00          82,925,882.00            292,444.00            500,000.00
WASHINGTON                     55,771,175.00              500,000.00          55,271,175.00            118,309.31            381,690.69
WEST VIRGINIA                  35,952,783.00              280,000.00          35,672,783.00                                  280,000.00
WISCONSIN                      61,901,479.00           16,904,011.37          44,997,467.63         15,695,733.88          1,208,277.49
WYOMING                        21,075,959.00                                  21,075,959.00
PUERTO RICO                    10,754,263.00              155,192.61          10,599,070.39            155,192.61
         TOTAL              3,270,000,000.00          526,608,042.75       2,743,391,957.25        482,179,746.04         44,428,296.71
